                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

MICHAEL GONIDAKIS, et al.,                       :
                                                 :
                Plaintiffs,                      :   Case No. 2:22-cv-0773
                                                 :
        v.                                       :   Chief Judge Algenon L. Marbley
                                                 :   Judge Amul R. Thapar
OHIO REDISTRICTING                               :   Judge Benjamin J. Beaton
COMMISSION, et al.,                              :
                                                 :   Magistrate Judge Elizabeth P. Deavers
                Defendants.                      :

                                            ORDER

        This matter is before the Court on the Bennett Parties’ Motion for Disclosure of Witnesses

in Advance of the Preliminary Injunction Hearing (ECF No. 109). The Motion additionally seeks

leave of the Court for witnesses who are located out-of-state to testify remotely by

videoconference. Plaintiffs filed a response (ECF No. 112), indicating that they are agreeable to a

disclosure of witnesses on Tuesday, March 29, but not sooner. Their response does not comment

on remote testimony.

        The parties are DIRECTED to provide an initial disclosure of witnesses for the

Preliminary Injunction hearing not later than 12:00 noon on Tuesday, March 29. If the parties

wish to add rebuttal witnesses, then supplemental lists shall be provided not later than 5:00 p.m.

on Tuesday, March 29. Witness disclosures shall be filed with the Court and served via email to

counsel for all other parties.

        Witnesses located out-of-state shall be permitted to testify via remote videoconference.

Any parties who intend to utilize remote testimony SHALL notify each Judge’s Chambers not

later than 5:00 p.m. on Tuesday, March 29, so videoconferencing information can be provided.
Notices   shall   be   submitted   by   email   to:   Marbley_Chambers@ohsd.uscourts.gov;

Ca06-Thapar_Chambers@ca6.uscourts.gov; and Judge_Beaton_Chambers@kywd.uscourts.gov.

      The Bennett Parties’ Motion (ECF No. 109) is GRANTED consistent with the foregoing.

      IT IS SO ORDERED.



                                          ALGENON L. MARBLEY
                                          CHIEF UNITED STATES DISTRICT JUDGE


                                          s/ Amul R. Thapar
                                          AMUL R. THAPAR
                                          UNITED STATES CIRCUIT JUDGE


                                          s/ Benjamin J. Beaton
                                          BENJAMIN J. BEATON
                                          UNITED STATES DISTRICT JUDGE


DATED: March 28, 2022
